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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           NEW ALBANY DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                   Plaintiff,                 )
                                              )
       v.                                     ) CASE NO. 4:07-cr-0007-5-DFH-MGN
                                              )
 ANIBAL PINEDA-AREOLA,                        )
                                              )
                   Defendant.                 )


               ENTRY ON DEFENDANT’S MOTION TO SUPPRESS


       A grand jury indicted defendant Anibal Pineda-Areola and others on charges

 of conspiring to traffic in methamphetamine, cocaine, and marijuana in southern

 Indiana and Kentucky.      Defendant Pineda has moved to suppress evidence

 obtained as a result of his arrest on June 5, 2007 in Kentucky. Pineda contends

 that the law enforcement officers did not have probable cause to arrest him and

 to seize two cellular telephones that were in his possession. The court held an

 evidentiary hearing on December 17, 2007 with testimony from Special Agent

 Arnold Fitzgerald, Task Force Officer Mark Slaughter, and defendant Anibal

 Pineda. The parties have submitted additional post-hearing briefs, which have

 included documents (Attachments A, B, and C to defendant’s post-hearing brief)

 that are also deemed part of the evidentiary record. Pursuant to Rule 12(d) of the

 Federal Rules of Criminal Procedure, the court now states its findings of fact and

 conclusions of law.

                                  Findings of Fact
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       Defendant Pineda was arrested in Kentucky on June 5, 2007 after being

 detained and questioned at the scene of a meeting that federal agents believed was

 a delivery of a wholesale quantity of cocaine. No drugs were found at the scene,

 and Pineda was not arrested on drug charges at that time. He was arrested

 instead for being in the United States illegally.



       In May 2007, federal drug enforcement agents were investigating suspected

 drug trafficking in Louisville, Kentucky and southern Indiana. The agents had

 carried out several controlled purchases of drugs from co-defendant Juan Diaz-

 Gaudarama (also known as “Jorge”) and from one or more street-level dealers who

 obtained their supplies from Diaz. The agents were interested in pursuing the

 source(s) of supply for Juan Diaz. The agents obtained a court order authorizing

 interception of telephone calls to and from a cellular telephone that he had been

 using. Interception began approximately May 20 or May 21, 2007.



       During the interceptions, the agents heard telephone calls between Juan

 Diaz and a man identified as “Japo” (whose nickname was also sometimes noted

 as “Zapo” or “Sapo”). On May 24, 2007, Juan Diaz arranged to sell one kilogram

 of cocaine through Jose Velasco, who was also known as “the Texan.” Diaz




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 arranged for Samuel Solis to deliver the cocaine to “the Texan.”1 These calls were

 those summarized as numbers 320, 321, and 325 in Government Exhibit 6.2



       Later in the evening of May 24th, Diaz called 561-876-0117 and spoke to

 “Japo.” He told Japo that he was going to send Solis (also known as “Texas,” as

 distinct from the customer known as “the Texan”) to deliver “the sample” to “the

 Texan.”   Gov. Ex. 6 (Call No. 399).    The substance of the call can fairly be

 interpreted as Diaz keeping “Japo” informed about the transaction and seeking his

 approval for it.3



       On June 4, 2007, the agents intercepted a call from “Japo” to Diaz using the

 same phone number. Gov. Ex. 6 (Call No. 2492). The two discussed a delivery



       1
        Solis and Juan Diaz-Gaudarama are also defendants in this case but have
 played no role in Pineda’s motion to suppress. The court’s factual findings in this
 entry are without prejudice to reconsideration of factual issues as they may affect
 other defendants.
       2
        The “line sheets” in Government Exhibit 6 were not prepared instantly.
 They contain some information added after the June 5th arrest of Pineda (such
 as information identifying “Japo” as Pineda). However, the evidence from the
 agents indicated that the substance of the conversations was conveyed quickly to
 the agents in the field. Accordingly, Government Exhibit 6 must be used with
 caution to understand the information the agents on the scene knew at the
 relevant time, when they detained and later arrested Pineda on June 5, 2007.
       3
         As of May 24, 2007, the agents believed that the person using the 561-876-
 0117 number was Gaspar Villa. See Def. Att. A at 2, ¶ 4. Only later, after the
 arrest of Pineda on June 5th with the cellular telephone that rang when the
 agents dialed the number, did the agents conclude that Pineda was the person
 using that telephone. See also Def. Att. C (report dated June 25, 2007 stating that
 earlier references linking that telephone number to Villa were incorrect and that
 all future reports should link that number to Pineda).

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 from Japo to Diaz. The two appeared to be using a fairly simple code in which

 they talked about Japo delivering girls, oysters, coconuts, and some fish. Japo

 said that he was going to drive to make the delivery.



       The next day, on June 5, 2007, the agents intercepted a call from Japo to

 Diaz, again at 11:42 a.m. using the same telephones. Gov. Ex. 6 (Call No. 2594).

 Part of the call apparently dealt with a vehicle transaction, but at the end, Diaz

 told “Japo” that “Texas” (Solis) would be going to meet “Japo,” but Diaz then said

 that someone named “Chili” would be going to meet “Japo.”



       At 1:28 p.m., “Japo” called Diaz again using the same cellular telephones.

 Gov. Ex. 6 (Call No. 2622). They talked about finding a meeting place as “Japo”

 was driving into Kentucky and the person acting for Diaz was driving south from

 Louisville to meet him. Diaz asked “Japo” (listed as “Sapo”) if he was just going

 to give him “the box.” “Japo” answered that he had a “little girl.”



       Solis was under surveillance by federal agents as he drove toward the

 expected meeting with “Japo.” The agents did not know the identity or have a

 description of “Japo.” Nevertheless, they reasonably believed that “Japo” was

 supplying Diaz with drugs and would be delivering a quantity of drugs, probably

 cocaine, to Solis that afternoon.




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       Solis eventually stopped in a McDonald’s parking lot in Munfordville,

 Kentucky. Agents saw a dark-colored Ford F-150 pick-up truck approach and

 park next to Solis’ car. They saw two people get out of the front seat of the truck:

 Pineda and Gaspar Villa, who had been driving. They approached Solis and talked

 briefly. Then one of the three men transferred a blue cooler from the truck to

 Solis’ car. Two other people, an older man and a woman, were passengers in the

 back seat of the truck and stayed there.4



       After the cooler was moved from the truck to Solis’ car, the agents

 approached and detained the persons present for questioning. Pineda gave his

 name to the agents, as did others who were questioned. The agents checked with

 the Bureau of Immigration and Customs Enforcement and received word that

 Pineda and others were in the United States illegally and should be detained and

 taken to Louisville for questioning. (One or two of the men were U.S. citizens and

 were later released.)



       The agents also brought a drug-detection dog to the location. The dog gave

 a positive signal for the presence of drugs, but none were found in a later search.

 The cooler did not have any cocaine or other contraband in it. Roughly 35 to 40

 minutes after the start of the encounter, and before Pineda was transported to



       4
        The Drug Enforcement Administration’s report on the incident reported
 that three men got out of the truck – Villa, Pineda, and Salustre Mujica-Camacho.
 Def. Att. B at 3, ¶ 12. This discrepancy between the officer’s memory and the
 report seems minor and immaterial for present purposes.

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 Louisville in custody, Officer Slaughter searched and found two cellular

 telephones on Pineda’s person. Officer Slaughter used another cellular telephone

 to dial 561-876-0117, the telephone number that the agents knew had been used

 in the calls with “Japo.” One of the cellular telephones taken from Pineda vibrated

 in response to that call. That cellular telephone was not registered in Pineda’s

 name, but he admitted in his testimony that he had used the telephone on June

 4th and 5th. The telephone was seized as evidence in the drug investigation. Def.

 Att. B at 3, ¶13(a).



       Defendant Pineda testified that he had been arrested by immigration

 authorities in Florida and released on bail on March 6, 2007. He claimed that he

 was given a new court date and was subject to no other restrictions on his

 conduct or travel.5



       One disputed factual issue is precisely when agents searched Pineda and

 found the cellular telephones. Task Force Officer Slaughter testified that he had

 searched Pineda without finding the cellular telephones and later searched him



       5
         At the hearing, the court expressed some skepticism about Pineda’s claim
 that the only condition for his release was to appear when ordered, without
 restrictions on travel, but there is no contrary evidence. Pineda’s counsel noted
 in his post-hearing brief that he had verified that normal conditions of release in
 a removal or deportation proceeding do not restrict travel. Def. Br. at 7 n.1. From
 the court’s perspective (outside BICE and the Department of Homeland Security),
 the absence of such restrictions seems odd. Perhaps there are reasons for it that
 the court does not perceive. For present purposes, the court accepts Pineda’s
 testimony that his bond did not restrict his travel, but the fact remains that his
 presence in the United States had been and still was illegal on June 5, 2007.

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 again before transporting him to Louisville, at which point he found the cellular

 telephones. The DEA Form 6 reported that all six occupants of the two vehicles

 were searched and that two cellular telephones were seized from Pineda. Def. Att.

 B at 3, ¶¶ 12-13(a). Pineda testified, but the court does not recall that he was

 asked exactly when in the encounter the cellular telephones were found.



       The court makes no finding as to exactly when the agents found the cellular

 telephone with the number 516-876-0117, other than to find that the agents

 found it before they transported Pineda in custody to Louisville.



                                 Conclusions of Law


       When the agents observed the transfer of the cooler from the pick-up truck

 to the Solis car, they had reasonable suspicions that they were observing an illegal

 drug delivery. Their suspicions were based upon the totality of circumstances,

 including the earlier controlled drug purchases from Diaz and his associates and

 the many telephone interceptions of calls using codes and arranging for sales and

 deliveries. The agents reasonably interpreted the telephone calls between Diaz

 and “Japo” leading up to the June 5th rendezvous as planning a delivery of drugs

 from “Japo” to Solis, who was making the pick-up on behalf of Diaz.



       All of that information was sufficient to authorize an investigative stop

 pursuant to Terry v. Ohio, 392 U.S. 1 (1968). Accord, United States v. Sokolow,



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 490 U.S. 1, 7 (1989). Police are entitled to ask for identification in a Terry stop.

 E.g., United States v. Jackson, 377 F.3d 715, 717 (7th Cir. 2004), citing Hiibel v.

 Sixth Judicial District Court, 542 U.S. 177, 185-86 (2004).       Pineda provided

 identification.   His identification led the agents to contact the Bureau of

 Immigration and Customs Enforcement. The ICE agent advised the agents on the

 scene that Pineda was in the country illegally and should be taken into custody

 for further investigation.



       The precise terms of Pineda’s release from the immigration court in Florida

 are not material to the court’s decision. The uncontroverted evidence shows: (a)

 that Pineda was in the United States illegally, and (b) that ICE advised the agents

 on the scene that Pineda was in the United States illegally and should be taken

 into custody. Whether that advice to take him into custody was right or wrong,

 it gave the agents on the scene probable cause to arrest Pineda. See Smith v. City

 of Chicago, 242 F.3d 737, 742-43 (7th Cir. 2001) (finding that officers had

 probable cause to arrest driver suspect of committing traffic offense when

 dispatcher misinformed officers that the driver had thirteen aliases and the driver

 could not produce proof of insurance). With that probable cause to arrest Pineda,

 the officers were entitled to search him before transporting him. Michigan v.

 DeFillippo, 443 U.S. 31, 35 (1979).



       Taking Officer Slaughter’s recollection as accurate, that he found the

 cellular telephone when searching Pineda just before transporting him to


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 Louisville, the search was reasonable and permissible as a search incident to a

 valid arrest.



       On the other hand, the DEA Form 6 indicates that the agents carried out

 a search of all six occupants of the vehicles. Def. Att. B at 3, ¶ 13. If the report

 was written in chronological sequence, the sequence implies that the agents

 searched Pineda and the others before the agents learned that they had probable

 cause to arrest Pineda on immigration charges. See Def. Att. B at 4, ¶ 14. One

 reasonable interpretation of the report is that the search of Pineda occurred before

 the agents contacted ICE and were told they should arrest him. If that is what

 happened, then the full search of Pineda would appear to have gone beyond a

 protective pat-down that might have been reasonable as part of an investigative

 Terry stop. Cf. Terry v. Ohio, 392 U.S. at 23-24 (holding that officer had sufficient

 basis to frisk for weapons a subject suspected of planning a robbery); United

 States v. Barnett, 505 F.3d 637, 640 (7th Cir. 2007) (holding that officers

 conducting Terry stop could frisk for weapons a possible suspect in armed

 robbery).



       Even if the search of Pineda’s person was unconstitutionally premature,

 however, the exclusionary rule would not apply to the telephone itself because of

 the inevitable discovery exception to that rule. See generally Murray v. United

 States, 487 U.S. 533 (1988); United States v. Blackwell, 416 F.3d 631, 633 (7th Cir.

 2005). Pineda was going to be arrested for being in the United States illegally. It


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 was inevitable that he would be searched so that the telephone would have been

 discovered.   See United States v. Rhind, 289 F.3d 690, 694 (11th Cir. 2002)

 (assuming that search of suspect’s bag went beyond what was allowed by Terry,

 the contents of bag would inevitably have been discovered in routine inventory

 search following proper arrest that was not based on the search of the bag). Even

 if the agents found the telephone before they knew they had probable cause to

 arrest Pineda, the telephone added nothing to the probable cause they eventually

 had to arrest Pineda for being in the United States illegally.



       After the agents discovered the cellular telephones, Officer Slaughter used

 another telephone to dial 516-876-0117. He heard and saw one of the telephones

 seized from Pineda ring or vibrate in response. Dialing the telephone number was

 not a search within the meaning of the Fourth Amendment and did not invade any

 protected privacy interest. See Commonwealth v. Terry, 2002 WL 1163449, at *1-2

 (Va. App. 2002) (unpublished opinion) (reversing suppression order and holding

 that police officer’s call to cellular telephone number was not a search; distinctive

 ring of telephone in the house where officer was lawfully present told him that

 stolen telephone was present). There is no evidence here that the agents

 conducted any further search of the contents of the telephone’s memory, such as

 a record of incoming or outgoing calls, text messages, etc. Thus there is no issue

 here as to whether a warrant would have been needed for such a further search.

 Cf. United States v. James, 353 F.3d 606, 617 (8th Cir. 2003) (holding that

 inevitable discovery exception did not apply to seizure of computer discs and


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 search of their contents, so that fruits of warrantless search should have been

 suppressed); United States v. O’Razvi, 1998 WL 405048, at *6-7 (S.D.N.Y. July 17,

 1998) (noting government’s concession that warrant was needed to search

 contents of computer discs seized in otherwise lawful arrest and search), aff’d

 mem., 173 F.3d 847 (2d Cir. 1999); Smith v. State, 713 N.E.2d 338, 343-45 (Ind.

 App. 1999) (ordering suppression of contents of memory of cellular telephone

 searched without warrant).



       Pineda argues that the search and seizure of all six persons at the

 Munfordville McDonald’s rendezvous violated the Fourth Amendment because no

 crime had been committed, citing United States v. Jenkins, 876 F.2d 1085 (2d Cir.

 1989). In Jenkins, agents were investigating a public official suspected of money

 laundering, and the official indicated he would be willing to carry large amounts

 of cash out of the United States without filing the required currency reports. An

 undercover agent met with the suspect and gave him $150,000 in sting money.

 The suspect said he would take the cash out of the United States that evening.

 Agents arrested the suspect as he left the meeting, and they searched the suitcase

 containing the money. They also seized additional incriminating documents from

 the suitcase. The district court suppressed the documents as evidence. In the

 course of remanding for further fact-finding, the Second Circuit held that the

 agents did not have probable cause to arrest the suspect because he had not yet

 committed a crime. When he was arrested, he still had many hours in which to

 file the required currency reports. 876 F.2d at 1089.


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       Jenkins is relevant to the extent that the government agents in this case did

 not have probable cause on June 5, 2007 to arrest Pineda for drug trafficking.

 Jenkins does not help Pineda, however, because the agents had probable cause

 to arrest him for being in the United States unlawfully.          And whether the

 telephone was discovered in a search incident to that lawful arrest or was instead

 discovered earlier in an unlawful search but would have been discovered

 inevitably in a search incident to the lawful arrest, the telephone should not be

 suppressed as evidence.



       At the time of the initial detention, the agents did not know which of the

 four people in the truck was most likely “Japo” or was otherwise involved in the

 suspected delivery. Pineda argues that without individualized suspicion, the

 agents were not authorized to detain any one of the four individuals in the truck,

 citing Ybarra v. Illinois, 444 U.S. 85 (1979). The court disagrees. The officers had

 a reasonable suspicion that the truck would be used to deliver cocaine at the

 Munfordville McDonald’s. Although they did not know which person was “Japo,”

 the agents could conduct a Terry investigative stop to seek each person’s identity

 and additional information. See United States v. Rhind, 289 F.3d at 694 (finding

 that where officers knew that one of three suspects was wanted on 15 felony

 warrants but officers did not know which one of the three, officers had reasonable

 suspicion that bag carried by one suspect might contain a weapon or contraband).

 In this case, in the course of that lawful investigative stop, the agents learned that

 Pineda was in the United States illegally and should be arrested.


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       The situation in Ybarra v. Illinois is not comparable. There the Supreme

 Court held that the search of all customers at a bar being searched pursuant to

 a search warrant was not reasonable under the Fourth Amendment. The police

 had a search warrant based on probable cause to believe that the bartender would

 have heroin for sale on the premises, but the bar was a public commercial

 establishment. The police had no basis for suspecting Mr. Ybarra or any other

 customer in particular, so the frisk and more thorough search were

 unconstitutional. 444 U.S. at 90-94. In this case, by contrast, the agents had

 objective and specific grounds for believing that the rendezvous at the

 Munfordville McDonald’s would be a delivery of a large quantity of cocaine. They

 could not be sure about the specific roles of the different persons present, but the

 agents were authorized to detain all of them briefly to investigate the situation.



       For the foregoing reasons, the court denies defendant Pineda’s motion to

 suppress evidence.



       So ordered.


 Date: January 10, 2008
                                                DAVID F. HAMILTON, CHIEF JUDGE
                                                United States District Court
                                                Southern District of Indiana

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